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Exhibit C
ChAse: pec a DESSERT “4 Filed 94/84/29 Bage 2 ef 2
Ss Gawn Borland — anes
=" @ Acimin - July 7, 2075
For those who are interested, tm happy to share =
letter here that | composed to cur Portland recipient
ithe woman who received my recipient's wife’s
kidney], which got shared widely around the UCLA
transplant team:

Gear Hecipient,

My name is Dawn Dorland. i'm a 35-year-old white
| female, and | live with my husband in LA.
_. in 2009 | read my first article about living kidney
- dometion, and in the years since, | have been

- gonstantly reminded--whether triggered by my
reading tf am a writer), or through the stories of
people | know--of the harrowing experience of
.. diafysis and the dire need in our country for kidneys. |
beleve that l knew, fram the moment i first became
aware of the possibility of donating one of my
kidmeys, that | would one day find a way to do this.
Once | had afl the information, | was motivated to
donate at 2 time when, due to medical advances and
the existence of the National Kidney Registry--
especially the leans they've made matching
compatible strangers through paired exchange--i
. Stood te make an meximum impact in others* lives.

with only minimal risk to myselt. Personally, my

. @hildhnoed was marked by trauma and abuse: | didn't
| have the opportunity to form secure attachments with
omy family of origin. A positive outcome of my early
fife is empathy, that ft opened a well of possibility
. between me and strangers. While perhaps mary more
| people would be motivated to donate an organ to a

friend of family member in need, to me, the suffering
of strangers is just ae resi.

ican't tell you how heppy | am that my donation
eventualiy--two organs and four Surgeries later--
resulted in your receiving [REDACTED})'s kidney.
Throughout my preperation for becoming a donor,
Which spanned precisely eight months from nvy first
testing to the date of our surgeries, | was most
excited about the recipient whe would come off of the ©
deceased doncr list and end our chain. | focused a
mapority of my mental energy on imagining end
- eetebrating *you"™.
| My gift, which begat [REDACTED)'s, trails nao strings.
.. You are deserving of an extended and healthy life
| sityply for being here.
| Please know thet my husbend and | would jove to
kreow more about you, and perhaps even meet you
) @ne day. Bui! accept any level of involhement or
a response from you, even it is mone.
Thank you for reading this letter, and be well.

* Kindly,

eae

